
BREvaed, J.
From the report of the judge who presided in the District Court, it has appeared that the plaintiff’s claim amounted to five hundred dollars, and that their claiming on the other counts, which were not supported by evidence, did not appear to be deceitful, or merely pretended, in order to accumulate costs. If this had been the case, or if the real demand of the plaintiffs had been reduced within the summary jurisdiction of the court, by payments made before suit brought, which in justice he was .bound to admit, and which the defendant could not object to his allowing, on the ground that the payment was made on some other account, I should be of opinion that the decision was incorrect, and that summary process costs only, ought to have been charged. But as the case stands, my opinion is, that the decision of the District Court was right, and ' that the motion should be discharged.
Colcock, Bay, Grimke, and Nott, Js., concurred.
